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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                              11/2/2020


  United States of America,

                 –v–
                                                                     15-cr-95 (AJN)
  Abdullah Yoda,
                                                                        ORDER
                        Defendant.



ALISON J. NATHAN, District Judge:

       A presentment, arraignment, initial conference, and bail hearing for alleged violations of

supervised release is currently scheduled for November 4, 2020 at 11:00 A.M. Dkt. No. 3045.

The proceeding will be held remotely using the Skype for Business platform. The Court will

separately provide the parties with instructions for accessing this platform. Members of the

public may access audio for the proceeding by calling (917) 933-2166 and entering Conference

ID number 504705908.


 Dated: November 2, 2020
        New York, New York
                                                 ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge
